   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                 ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-8465
                                        * * * ICRS CONFIDENTIAL * * *

        To: NATCONE, JASON A. - #365048
            UNIT: _N-_A -- _A41-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     06/09/2023
           Date Complaint Received:         06/09/2023
           Subject of Complaint:        22 - Dental

           Brief Summary:               complains he is not being seen for his cleaning

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: June 13, 2023                                    Page 1 of 1                        Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-401 (Rev. 04/18)                                                                                          Chapter DOC 310

                                                  ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-8465
                                        * * * ICRS CONFIDENTIAL * * *

        To: NATCONE, JASON A. - #365048
            UNIT: _N-_A -- _A41-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
           Date Complaint Acknowledged: 06/09/2023                                         Inmate Contacted? No

           Date Complaint Received:      06/09/2023
          Subject of Complaint:          22 - Dental

          Person(s) Contacted:           Dr Jerome

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 complains he is not being seen for his cleaning

          Summary of Facts:              TM Inmate complains he is not being seen for teeth cleaning every six months
                                         as his medical condition states.

                                         Dr Jerome was contacted and stated, "We are trying to accommodate this
                                         patient's request to be seen every 6 months but the lockdown will create some
                                         delay. We have not had a hygienist in the institution since the lockdown began.
                                         We are able to see only Urgent patients during the lockdown. We will get him in
                                         as soon as we resume Hygiene appointments."

                                         Recommendation is to affirm that inmate Natcone is not being seen by Dental
                                         as recommended in his Dental file. A copy will be sent to AHSM Haseleu for
                                         review. Through the ICRS process, the matter will be reviewed by the Health
                                         Services Nursing Coordinator.

          ICE Recommendation:            Affirmed

          Recommendation Date:          07/17/2023




                                        T. Moon - Institution Complaint Examiner




Print Date: July 19, 2023                                     Page 1 of 1                       Institution Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-403 (Rev. 04/18)                                                                                         Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-8465
                                         * * * ICRS CONFIDENTIAL * * *

        To: NATCONE, JASON A. - #365048
            UNIT: _N-_A -- _A41-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
           Date Complaint Acknowledged: 06/09/2023
           Date Complaint Received:         06/09/2023
          Subject of Complaint:             22 - Dental
           Brief Summary:                   complains he is not being seen for his cleaning
          ICE's Recommendation:             Affirmed
          Reviewer's Decision:              Affirmed

          Decision Date:                    07/18/2023




                                           A. Panos - Reviewing Authority

           CC:
                  Distributed via email
                      Haseleu, A

           A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
           decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
           (DOC 310.12, Wis. Adm. Code).




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                                                                                                  GENERAL REPORT
                                                                                                     WCI-2023-8465
                                                State of Wisconsin
                                                 Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        June 09, 2023
              Date Complaint Received:         June 09, 2023
              Subject of Complaint:         22 - Dental

              Brief Summary:                complains he is not being seen for his cleaning

        ICE Recommendation Information:        (Signed on 7/17/23 1:48:20PM):
              Person(s) Contacted:          Dr Jerome
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       TM Inmate complains he is not being seen for teeth cleaning every six
                                            months as his medical condition states.

                                            Dr Jerome was contacted and stated, "We are trying to accommodate this
                                            patient's request to be seen every 6 months but the lockdown will create
                                            some delay. We have not had a hygienist in the institution since the
                                            lockdown began. We are able to see only Urgent patients during the
                                            lockdown. We will get him in as soon as we resume Hygiene appointments."

                                            Recommendation is to affirm that inmate Natcone is not being seen by
                                            Dental as recommended in his Dental file. A copy will be sent to AHSM
                                            Haseleu for review. Through the ICRS process, the matter will be reviewed
                                            by the Health Services Nursing Coordinator.

              ICE's Recommendation:         Affirmed
              ICE's Recommendation Date: July 17, 2023

        RA's Decision Information:      (Signed on 7/18/23 1:44:22PM):
              RA's Decision:                Affirmed
              RA's Decision Date:           July 18, 2023




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                                                                                                                                             State of Wisconsin
                                                                                                                                              Department of Corrections

                                                                                                                                        DISTRIBUTION ITEMS
                                                                                                                                for COMPLAINT NUMBER WCI-2023-8465
                                                                                 Item                           Create Date           Created By          Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    06/09/2023 6:53:45AM   Tonia Moon               WCI                   365048    06/13/2023 6:39:07AM   Tonia Moon
                                                                          ICE Report                     07/18/2023 1:44:22PM   Angelo Panos             WCI                   365048    07/19/2023 2:11:22PM   Brian Kolb
                                                                          RA Report                      07/18/2023 1:44:22PM   Angelo Panos             WCI                   365048    07/19/2023 2:11:22PM   Brian Kolb




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